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            IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF GEORGIA
                     ATLANTA DIVISION

EDWARD KIM,                           :   MOTION TO VACATE
BOP ID 64144-019,                     :   28 U.S.C. § 2255
     Movant,                          :
                                      :   CIVIL ACTION NO.
      v.                              :   1:16-CV-1173-WSD-CMS
                                      :
UNITED STATES OF AMERICA,             :   CRIMINAL ACTION NO.
    Respondent.                       :   1:12-CR-323-WSD-CMS

                    ORDER FOR SERVICE OF
               REPORT AND RECOMMENDATION OF
               UNITED STATES MAGISTRATE JUDGE

      Attached is the report and recommendation of the United States

Magistrate Judge in this action in accordance with 28 U.S.C. § 636(b)(1)

and this Court’s Civil Local Rule 72. Let the same be filed and a copy,

together with a copy of this Order, be served upon counsel for the parties.

      Pursuant to 28 U.S.C. § 636(b)(1), each party may file written

objections, if any, to the report and recommendation within fourteen (14)

days of service of this Order. Should objections be filed, they shall specify

with particularity the alleged error or errors made (including reference by

page number to the transcript if applicable) and shall be served upon the

opposing party. The party filing objections will be responsible for obtaining

and filing the transcript of any evidentiary hearing for review by the District
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Court. If no objections are filed, the report and recommendation may be

adopted as the opinion and order of the District Court and any appellate

review of factual findings and conclusions of law will be limited to a plain

error review. See 11th Cir. R. 3-1.

      The Clerk is DIRECTED to submit the report and recommendation

with objections, if any, to the District Court after expiration of the above

time period.

      SO ORDERED, this 11th day of May, 2016.




                               CATHERINE M. SALINAS
                               UNITED STATES MAGISTRATE JUDGE




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